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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH

                                 CENTRAL DIVISION


    In re:                         )
                                   )
    VON LESTER TAYLOR,             )
                                   )
              Plaintiff,           )
                                   )
    vs.                            )   Case No. 2:07-CV-00194
                                   )
    SCOTT CROWTHER, et al,         )
                                   )
              Defendants.          )
                                   )
    ________________________       )




                        BEFORE THE HONORABLE DUSTIN PEAD

                                  October 5, 2017


             Transcript of Electronically Recorded Motion Hearing




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                             351 South West Temple
                             8.430 U.S. Courthouse
                          Salt Lake City, Utah 84101
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 1                    Salt Lake City, Utah October 5, 2017

 2                                  * * * * *

 3            THE COURT:    Good afternoon, everyone.      My name is

 4     Dustin Pead, a magistrate judge, referral judge,

 5     2:07-CV-194, Taylor versus Crowther.

 6            Would counsel please make their appearance?

 7     Mr. Pomerantz starting with you as petitioner.

 8            MR. POMERANTZ:     Good afternoon, Your Honor, Brian

 9     Pomerantz on behalf of petitioner Von Taylor.

10            MR. MURRAY:    And Ken Murray as well, Your Honor.

11            THE COURT:    Thank you, gentlemen.      And for the state.

12            MS. RILEY:    Erin Riley and Andrew Peterson from the

13     Attorney General's Office for the respondent.

14            THE COURT:    Thank you.    Ms. Riley, are you going to

15     speak today?

16            MS. RILEY:    I am, yes.

17            THE COURT:    I want to first, before we address the

18     motion to continue, indicate that I have had an opportunity

19     to communicate with Mr. Pomerantz and Mr. Murray about some

20     issues I would like to ask Mr. Pomerantz to state how he

21     views the current motion and any requests he might make in

22     this regard.     Mr. Pomerantz?

23            MR. POMERANTZ:     We are requesting that the motion to

24     continue be stayed on consideration until Monday, and that

25     the discovery deadlines be moved back to Wednesday, if


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 1     necessary.

 2            THE COURT:    Um, Mr. Pomerantz, is it fair to say that

 3     you're still -- you're -- it's a fluid motion, you're

 4     considering whether you can go forward in earnestness with

 5     the already existing evidentiary hearing set for November.

 6            MR. POMERANTZ:     We are.

 7            THE COURT:    And Ms. Riley, they're saying look, we may

 8     need just a few more days to examine some situations that

 9     are going on to see how we want to move forward.          It would

10     require, if I adopt their proposal, pushing some dates.           It

11     would be pushing the things that are due on Friday and

12     Saturday to next Wednesday, and then they would have to

13     alert me and you by close of business on Monday whether they

14     want to move forward in earnestness with the motion to

15     continue.    That's --

16            MS. RILEY:    So would we not be arguing anything about

17     the motion to continue today?

18            THE COURT:    Right.

19            MS. RILEY:    I guess I'm not clear why one more day

20     would change things about that.

21            THE COURT:    Well, I don't want to speak for

22     Mr. Pomerantz.     All I'm saying is that it's a fluid

23     situation and they're trying to balance competing interests

24     versus going forward with the hearing versus the ability to

25     move forward with what they have.        Mr. Pomerantz, would you


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 1     like to add anything to the record in that regard?

 2              MR. POMERANTZ:    We are trying to assess, based on the

 3     information we have, whether the continuance is necessary or

 4     not and we have not had time to digest all of the

 5     information that we received over the last two days in the

 6     deposition yet.       So we're looking for time to digest that

 7     information to figure out whether it is necessary for us to

 8     continue this hearing or not.

 9              THE COURT:    My stated preference was that we could

10     address this while they were in town so we could have an

11     opportunity to go on a back and forth rather than a

12     telephonic hearing.       But I also have some interest in moving

13     forward with the evidentiary hearing at least for Judge

14     Campbell if we can do that.       Um, so I think they tried to

15     balance the desire from my end to make sure that we're

16     addressing any motion to continue as quickly as possible,

17     but I don't want to prematurely conclude that it should or

18     must be continued unless they believe that it should.           And

19     they're indicating that they would like a little more time

20     to do that.

21              MS. RILEY:    Um, I guess I have two concerns, Your

22     Honor.    First is we are opposing the motion to continue in

23     general at all and so our position is that we would prefer

24     to go ahead and argue and argue why it shouldn't be granted

25     no matter what, you know, whatever they come up with.


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 1            And then the second thing is, um, if it is stayed

 2     until Monday, is that then going to be a telephonic argument

 3     are you saying?

 4            THE COURT:    Yes, it would be set on Tuesday for

 5     telephonic.

 6            MS. RILEY:    So I, you know, I understand this is

 7     totally up to the court and at your discretion.          Our

 8     position is we would prefer to go ahead and argue today and

 9     argue our position that there is not a basis for the

10     continuance at all.      Um, that would be our preference.

11            THE COURT:    I think that is a very reasonable

12     position.    I'm going to go ahead and hold that decision in

13     abeyance.    We'll set it over.     I'm going to ask you to alert

14     the court and Ms. Riley and Mr. Peterson by no later than

15     4:00 p.m. mountain time in terms of whether you are moving

16     forward with the motion to continue in earnest.

17            If there is a determination that the motion they want

18     to proceed with the motion, we will do our very best to

19     reach out to you all immediately and try to get a hearing

20     set for Tuesday.     I'll be conducting that hearing and we

21     will go from there.

22            Meanwhile, there are deadlines for things that need to

23     be turned over, motions in limine, exhibit and witness lists

24     are due on Saturday, I believe.       Is that correct,

25     Mr. Pomerantz?


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 1              MR. POMERANTZ:   Motions in limine are due tomorrow,

 2     the exhibit and witness lists are due on Saturday, Your

 3     Honor.

 4              THE COURT:   What else is due over the weekend,

 5     Ms. Riley?    Is there anything else?

 6              MS. RILEY:   Transcripts of prior depositions that any

 7     party might anticipate presenting.

 8              MR. POMERANTZ:   She is correct, Your Honor,

 9     designation of transcripts.

10              THE COURT:   And what I would like to do is we're going

11     to set all of those in abeyance and those will be -- the

12     deadlines for those will all be collectively on Wednesday,

13     close of business by Wednesday.       Of course, that's subject

14     to (A) whether they want to move forward on a motion to

15     continue, and (B) whether it is granted.

16              Assuming they do not want to move forward, or I deny

17     the motion to continue, that will be the new date for those

18     matters to be turned over.

19              Mr. Pomerantz, anything else we need to address?        The

20     is one other matter.      Mr. Pomerantz, why don't you go ahead

21     and address the second matter as best you can, please.

22              MR. POMERANTZ:   We are -- we would like to, Your

23     Honor, withdraw Mr. Wong's expert report and redesignate him

24     as a consultant rather than as an expert witness.

25              THE COURT:   So, Ms. Riley, um, there is a notice that


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 1     Mr. Pomerantz is making at this point.        I am not prepared to

 2     discuss in detail some of the issues relating to that

 3     designation -- re-designation but they're withdrawing the

 4     report and considering him as a consultant, non-expert.

 5            MS. RILEY:    And that is, of course, a problem for us

 6     because our experts are rebuttal witnesses and so part of

 7     what they have done -- they have done is look at their

 8     expert's reports when they proceed with their reports.

 9            MR. PETERSON:     They have to designate new experts --

10            MS. RILEY:    Right.   So it's almost like we're going to

11     be starting all over.      If they're going to be designating a

12     new expert, then our experts are going to have to be looking

13     at it again.

14            THE COURT:    Well, I guess that's the whole point.        We

15     don't know if they're designating new experts or seeking to

16     designate new experts.      That's the whole basis for holding

17     the motion to continue in abeyance.        So believe me I read

18     you loud and clear this -- this is some potential problems.

19     That's why on balance I would rather we wait until Monday,

20     see what they want to do in earnestness and then we will

21     have to go forward from there.

22            MS. RILEY:    Will you be filing a written motion to

23     withdraw his -- withdraw him as an expert?

24            THE COURT:    Do you think that would be necessary?

25            MS. RILEY:    Well, I guess I'm not sure what they're


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 1     anticipating by only calling him as a consultant.          Does that

 2     then anticipate --

 3            THE COURT:    He is not then being called.

 4            MS. RILEY:    That our expert can't refer to or discuss

 5     or mention Mr. Wong's report?       I mean I have some questions

 6     about what that means.

 7            THE COURT:    Mr. Pomerantz, is it fair to say the

 8     report is not going to be used at all by Mr. Taylor nor is

 9     he going to be called as a witness in the proceeding.           Fair

10     enough?

11            MR. POMERANTZ:     Give me one moment, Your Honor.

12            THE COURT:    Yes.

13            MR. POMERANTZ:     Um, correct, Your Honor.      We would not

14     be presenting the report, we would not be referring to the

15     report in the hearing and Mr. Wong would not be testifying

16     at the hearing.     That's the purpose of, as you said,

17     re-designating him as a consultant.        He will not appear at

18     the hearing at all.

19            THE COURT:    So in terms of the rebuttal to Dr. Wong

20     there is just no utility for it, the report is no longer

21     part of the record in the hearing.

22            MS. RILEY:    Right.   My concern is that by doing this

23     today, withdrawing Mr. Wong's report, then they're putting

24     themselves in a position where there is no expert.          And I

25     assume if they choose to go forward with the motion to


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 1      continue the evidentiary hearing they're going to cite that

 2      as a basis for why they need a continuance.         It seems to me

 3      that they're, you know, that that is an issue there.          If we

 4      go forward with the evidentiary hearing then they have no

 5      firearms ballistic report or expert at all.

 6              THE COURT:   That's correct, um, and I am going to have

 7      to balance all of those things when we get to -- if we get

 8      to a motion to continue and um -- um, there are some matters

 9      that the court is not prepared to discuss that have impacted

10      that decision here today which I'm not going to address, but

11      it puts you in an awfully difficult position I understand

12      everyone where you're coming from, but I think this is the

13      best way to move forward amongst a lot of imperfect options.

14              So that's about as specific as I'm willing to get and

15      I know that's not much.      So let's hold it in abeyance until

16      Monday and then we will move quickly from there.

17              Mr. Pomerantz, anything else from you?

18              MR. POMERANTZ:   No, Your Honor.     Thank you for your

19      time.

20              THE COURT:   Ms. Riley, anything else from you?

21              MS. RILEY:   Nothing today.    Thank you, Your Honor.

22              THE COURT:   Thank you.    The hearing is concluded.

23              (Whereupon, the hearing concluded.)

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 1                           REPORTER'S CERTIFICATION

 2

 3                   I hereby certify that the foregoing transcript

 4      was taken from a tape recording stenographically to the best

 5      of my ability to hear and understand said tape recording,

 6      that my said stenographic notes were thereafter transcribed

 7      into typewriting at my direction.

 8                   Dated this 21st of November, 2017.

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11                              _________________________

12                                  Laura W. Robinson

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